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August 22,2022

(Sent Via FedEx ^7772668 1753)
                                                                           file
The Honorable Claudia Wilken                                                   AUG 242EZ ^
United States District Judge
Ronald V. Dellums Federal Building & United States Courthouse                    U-S-district COURT
1301 Clay Street
                                                                      northern district OF CALIFORNIA
Oakland, CA 94612

       Re: In re College Athlete NIL Litigation Case Number 4:20-cv-03919
               Objection to Disclosure of Information
               Georgia A. Sobocinski, Villanova University


Dear Judge Wilken:

The above-named individual respectfully objects to the disclosure of her personal information
in this matter pursuant to the Family Educational Rights and Privacy Act of 1974("FERPA"),
20 U.S.C.§ 1232(g).

Sincerely,

WALKER LAMB




 Eric J. Sobocinski



/EJS




 CC:    Rebecca E. Younker, Esq.
        E. Michael Zubey, Jr., Esq.




                                                          240 Leigh Farm Road, Suite 100, Durham, North Carolina 27707
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